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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


MORRIS BART, L.L.C.                                                   CIVIL ACTION

VERSUS                                                                NO. 23-1453

MCCLENNY MOSELEY & ASSOCIATES, PLLC                                   SECTION I (5)


       A STATUS CONFERENCE will be held BY TELEPHONE on MONDAY,

OCTOBER 16, 2023 at 10:00 A.M. COUNSEL SHALL FURNISH THE COURT WITH

THE NAME AND TELEPHONE NUMBER OF WHO WILL PARTICIPATE IN THE

CONFERENCE TWO DAYS PRIOR TO THE CONFERENCE. THE COURT WILL

INITIATE THE TELEPHONE CALL. The Court’s telephone number is (504) 589-7605.

       AT LEAST FIVE WORKING DAYS PRIOR to the conference, each party shall

submit a written status report to the Court. The parties may submit a joint status report or submit

the status reports individually. The status report should be e-filed into the record. The status

report shall contain:

               (1)      A listing of all the parties and counsel who represent the parties;

               (2)     A listing of any motions pending for decision in the case, the date any
               motion was submitted for decision or is set for hearing, an indication whether oral
               argument was previously or shall be requested on the motion, and an indication
               whether an evidentiary hearing shall be needed on the motion, such as in class
               certification proceedings;

               (3)     The dates and times of any status conference, pretrial conference and trial
               set in the case, along with an indication whether the case is jury or non-jury and
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            the number of expected trial days;

            (4)    A BRIEF description of the factual and legal issues underlying the
            dispute;

            (5)    A listing of any discovery which remains to be done; and

            (6)    A description of the status of any settlement negotiations.



TRIAL COUNSEL ARE TO PARTICIPATE IN THIS CONFERENCE. IF, HOWEVER, YOU
ARE UNABLE FOR GOOD CAUSE TO DO SO, ANOTHER ATTORNEY IN YOUR OFFICE
MAY PARTICIPATE IF ACQUAINTED WITH ALL DETAILS OF THE CASE AND
AUTHORIZED TO ENTER INTO ANY NECESSARY AGREEMENTS. IF, FOR GOOD
CAUSE, NEITHER IS POSSIBLE, YOU MUST FILE A MOTION AND ORDER TO CONTINUE
AT LEAST ONE WEEK PRIOR TO THE ABOVE DATE. THE COURT MAY BE
CONTACTED BY PHONE AT (504) 589-7605 OR BY FAX AT (504) 589-7608.

     New Orleans, Louisiana, this 14th day of September, 2023.


                                  __________________________________
                                        LANCE M. AFRICK
                                  UNITED STATES DISTRICT JUDGE
